                                                             Case 9:18-bk-03523-FMD                       Doc 19 1 Filed 10/31/18
                                                                                                           FORM                                    Page 1 of 3
                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       1
                                                                                                  ASSET CASES
Case No:            18-03523        CED     Judge: Caryl E. Delano                                                                         Trustee Name:                     Robert E. Tardif Jr.
Case Name:          CORASIO, SUSAN LYN                                                                                                    Date Filed (f) or Converted (c):   04/30/18 (f)
                                                                                                                                          341(a) Meeting Date:               06/05/18
For Period Ending: 09/30/18                                                                                                               Claims Bar Date:                   10/22/18



                                       1                                                  2                          3                         4                         5                                   6
                                                                                                            Estimated Net Value
                                                                                      Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled          Less Liens, Exemptions,          Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 2011 CHEVROLET ($284.03 bank fee added)                                               6,026.00                        2,165.03                                                 0.00                          2,165.03
     4% bank fee added
 2. HOUSEHOLD GOODS & FURNISHINGS                                                             605.00                           0.00                                                0.00                    FA
     Microwave, space heater, vacuum, blender, mixer, crock pot, coffee
     maker, cooking ware, glassware, cups, flatware, pots, pans, couch,
     loveseat, chair, bed frame, box springs, mattress, night stands, dresser,
     armoire, lamps, luggage, broom, mops, comforter, sheets,
     pillow,pillowcases, towels, washcloths, rugs, chairs
 3. TV, CLOCK, RADIO, CELL PHONE                                                               85.00                           0.00                                                0.00                    FA
 4. BOOKS,PRINTS, ARTWORK, PICTURES, CURIOS                                                   330.00                        310.00                                             310.00                      FA
 5. CLOTHING                                                                                  375.00                           0.00                                                0.00                    FA
 6. WEDDING BAND, WEDDING RING, BRACELETS, EARRINGS                                           445.00                           0.00                                                0.00                    FA
 7. DOG                                                                                        10.00                           0.00                                                0.00                    FA
 8. ANY UNK ASSETS/CAUSES OF ACTION                                                       Unknown                              0.00                                                0.00                    FA
 9. CASH                                                                                       20.00                         20.00                                                20.00                    FA
 10. CHECKING ACCOUNT                                                                         929.80                        929.80                                             724.98                             204.82
 11. 401 K PLAN                                                                               538.01                           0.00                                                0.00                    FA
 12. LANDLORD SECURITY DEPOSIT                                                            3,960.00                        3,960.00                                                 0.00                          3,960.00
 13. HEALTH INSURANCE THROUGH WORK                                                              0.00                           0.00                                                0.00                    FA
 14. 2018 TAX REFUND (4/12) (u)                                                                 0.00                        400.00                                                 0.00                           400.00
     Trustee value is estimate only.

                                                                                                                                                                                            Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                      $13,323.81                       $7,784.83                                           $1,054.98                          $6,729.85
                                                                                                                                                                                            (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________




LFORM1                                                                                                                                                                                                                      Ver: 20.02
                                                             Case 9:18-bk-03523-FMD                          Doc 19 1 Filed 10/31/18
                                                                                                              FORM                                  Page 2 of 3
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                            Page:      2
                                                                                               ASSET CASES
Case No:             18-03523       CED     Judge: Caryl E. Delano                                                                          Trustee Name:                      Robert E. Tardif Jr.
Case Name:           CORASIO, SUSAN LYN                                                                                                     Date Filed (f) or Converted (c):   04/30/18 (f)
                                                                                                                                            341(a) Meeting Date:               06/05/18
                                                                                                                                            Claims Bar Date:                   10/22/18
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   July 02, 2018 (RET) - Preparing proposed repurchase agreement.


   Stip for $7,384.83 at $527.49 per mo. beginning 8/15/18 for 14 mos. plus 4/12 of any 2018 tax refund. Requested orig
   title and insurance.


   July 20, 2018 (GAH) Reminder e-mail to atty for original car title and insurance.


   August 20, 2018 (RET) - Signed payment stipulation.


   August 29, 2018 (GAH) Second request for insurance and car title. (received car title)


   Initial Projected Date of Final Report (TFR): 04/29/20            Current Projected Date of Final Report (TFR): 04/29/20


           /s/     Robert E. Tardif Jr.
   __________________________________________ Date: 10/31/18
           ROBERT E. TARDIF JR.




LFORM1                                                                                                                                                                                                        Ver: 20.02
                                                      Case 9:18-bk-03523-FMD                Doc 19          Filed 10/31/18          Page 3 of 3
                                                                                               FORM 2                                                                                                    Page:      1
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           18-03523 -CED                                                                                          Trustee Name:                       Robert E. Tardif Jr.
  Case Name:         CORASIO, SUSAN LYN                                                                                     Bank Name:                          BOK FINANCIAL
                                                                                                                            Account Number / CD #:              *******9216 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******9019
  For Period Ending: 09/30/18                                                                                               Blanket Bond (per case limit):      $ 26,930,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                             3                                                4                                                 5                          6                         7
    Transaction      Check or                                                                                                      Uniform                                                               Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                BALANCE FORWARD                                                                                                                         0.00
          08/14/18    4, 9, 10   Susan Corasio                                  Payment on Overage (Doc #17)                      1129-000                     527.49                                                527.49
          09/07/18      10       Susan Corasio                                  Payment on Overage (Doc #17)                      1129-000                     527.49                                              1,054.98

                                                                                                        COLUMN TOTALS                                         1,054.98                       0.00                   1,054.98
                                                                                                            Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                        Subtotal                                              1,054.98                       0.00
                                                                                                            Less: Payments to Debtors                                                        0.00
                                                                                                        Net
                                                                                                                                                              1,054.98                       0.00
                                                                                                                                                                                NET                             ACCOUNT
                                                                                                         TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                       Checking Account (Non-Interest Earn - ********9216                    1,054.98                          0.00                 1,054.98
                                                                                                                                                ------------------------    ------------------------   ------------------------
                                                                                                                                                             1,054.98                          0.00                 1,054.98
                                                                                                                                                ==============             ==============              ==============
                                                                                                                                                 (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                            Transfers)               To Debtors)                    On Hand




                                                                                                                            Page Subtotals                    1,054.98                        0.00
                                                                                                                                                                                                                   Ver: 20.02
LFORM24
